            Case 1:22-cv-02671-JEB Document 1 Filed 09/06/22 Page 1 of 25




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     )
HERITAGE FOUNDATION.,                )
214 Massachusetts Ave. N.E.          )
Washington, D.C. 20002               )
                                     )
ROMAN JANKOWSKI                      )
214 Massachusetts Ave. N.E.          )
Washington, D.C. 20002               )
                                     )
                    Plaintiffs,      )
                                     )
v.                                   )    Case No. 22-cv-2671
                                     )
NATIONAL ARCHIVES AND                )
RECORDS ADMINISTRATION               )
700 Pennsylvania Ave., N.W.          )
Washington, D.C. 20408               )
                                     )
                    Defendant.       )
____________________________________)


    COMPLAINT AND PRAYER FOR DECLARATORY AND INJUNCTIVE RELIEF

       Plaintiffs, THE HERITAGE FOUNDATION and ROMAN JANKOWSKI (collectively

“Plaintiffs”), bring a Freedom of Information Act (“FOIA”), 5 U.S.C. § 552, suit against the

Defendant, NATIONAL ARCHIVES AND RECORDS ADMINISTRATION (“NARA”), to

compel the production of information related to NARA’s interactions with former President

Donald J. Trump, the White House, the Department of Justice, and others concerning the

application of the Presidential Records Act and related issues to President Trump.

       1.      In violation of the FOIA and NARA regulations, the Defendant has failed to issue

a determination and records within the statutory deadline.




                                                 1
             Case 1:22-cv-02671-JEB Document 1 Filed 09/06/22 Page 2 of 25




                                            PARTIES

       2.       Plaintiff, The Heritage Foundation, is a Washington, D.C.-based nonpartisan

public policy organization with a national and international reputation whose mission is to

“formulate and promote public policies based on the principles of free enterprise, limited

government, individual freedom, traditional American values, and a strong national defense.”

Heritage Foundation, About Heritage, https://www.heritage.org/about-heritage/mission (last

visited Sept. 6, 2022). Heritage is a not-for-profit section 501(c)(3) organization which engages

in substantial dissemination of information to the public. Heritage operates a national news

outlet, The Daily Signal.

       3.       Plaintiff Roman Jankowski is Senior Investigative Counsel at the Heritage

Foundation’s Oversight Project and is an author for The Daily Signal. The Oversight Project is

an initiative aimed at obtaining information via Freedom of Information Act requests and other

means in order to best inform the public and Congress for the purposes of Congressional

oversight. The requests and analysis of information is informed by Heritage’s deep policy

expertise.

       4.       Defendant NARA is a federal agency of the United States within the meaning of

5 U.S.C. § 552(f)(1) which describes itself as “the nation’s record keeper. Of all documents and

materials created . . . by the United States Federal government, only 1%–3% are so important for

legal or historical reasons that they are kept by us forever.” NARA FAQs,

https://www.archives.gov/faqs (last visited Sept. 6, 2022). NARA purports to be “an

independent establishment in the executive branch of the Government.” 44 U.S.C. § 2102. “The

Administration shall be administered under the supervision and direction of the Archivist.” Id. at

§ 2102. The Archivist is appointed by the President by and with the advice and consent of the




                                                2
               Case 1:22-cv-02671-JEB Document 1 Filed 09/06/22 Page 3 of 25




Senate. Id. at 2103. “The Archivist may be removed from office by the President. The

President shall communicate the reasons for any such removal to each House of the Congress.”

Id.

                                   JURISDICTION AND VENUE

          5.      This Court has jurisdiction pursuant to 5 U.S.C. § 552(a)(4)(B) because this

action is brought in the District of Columbia and 28 U.S.C. § 1331 because the resolution of

disputes under FOIA presents a federal question.

          6.      Venue is proper in this Court under 28 U.S.C. § 1391(b) because Defendant

NARA’s principal place of business is in the District of Columbia.

                                         BACKGROUND
                             The Presidential Records Act (“PRA”)
                        Application of the PRA to an Incumbent President

          7.      The Presidential Records Act, 44 U.S.C. § 2201 et seq., governs “Presidential

records.” Under the PRA “[t]he United States shall reserve and retain complete ownership,

possession, and control of Presidential records; and such records shall be administered in

accordance with the provisions of this chapter.” Id. § 2202. The PRA applies dramatically

different rules to a current President as opposed to a former President. The Supreme Court has

not addressed the functioning of the PRA, and the judicial decisions that do exist conflict on key

points.

          8.      The PRA defines “Presidential records” as:

          “[D]ocumentary materials, or any reasonably segregable portion thereof, created or
          received by the President, the President’s immediate staff, or a unit or individual of the
          Executive Office of the President whose function is to advise or assist the President, in
          the course of conducting activities which relate to or have an effect upon the carrying out
          of the constitutional, statutory, or other official or ceremonial duties of the President.”

Id. at § 2201(2)(A). This definition:




                                                   3
            Case 1:22-cv-02671-JEB Document 1 Filed 09/06/22 Page 4 of 25




       does not include any documentary materials that are (i) official records of an agency (as
       defined in section 552(e) of title 5, United States Code); (ii) personal records; (iii) stocks
       of publications and stationery; or (iv) extra copies of documents produced only for
       convenience of reference, when such copies are clearly so identified.

Id. at § 2201(2)(B) (emphasis added). The PRA in turn defines “personal records” to mean:

       all documentary materials, or any reasonably segregable portion thereof of a purely
       private or nonpublic character which do not relate to or have an effect upon the carrying
       out of the constitutional, statutory, or other official or ceremonial duties of the President.
       Such term includes—

               (A) diaries, journals, or other personal notes serving as the functional equivalent
               of a diary or journal which are not prepared or utilized for, or circulated or
               communicated in the course of, transacting Government business;
               (B) materials relating to private political associations, and having no relation to or
               direct effect upon the carrying out of constitutional, statutory, or other official or
               ceremonial duties of the President; and
               (C) materials relating exclusively to the President's own election to the office of
               the Presidency; and materials directly relating to the election of a particular
               individual or individuals to Federal, State, or local office, which have no relation
               to or direct effect upon the carrying out of constitutional, statutory, or other
               official or ceremonial duties of the President.

Id. at § 2201(3).

       9.      As to the decision of the “classification” of a record, the PRA provides:

       Documentary materials produced or received by the President, the President’s staff, or
       units or individuals in the Executive Office of the President the function of which is to
       advise or assist the President, shall, to the extent practicable, be categorized as
       Presidential records or personal records upon their creation or receipt and be filed
       separately.

Id. at § 2203(b).

       10.     The PRA further “provides that the President, during his term in office, shall

assume ‘exclusive[] responsib[ility] for custody, control, and access to such Presidential

records.’” CREW v. Trump, 924 F.3d 602 (D.C. Cir. 2019) (citing 44 U.S.C. § 2203(f)).

       11.     As a general matter, the D.C. Circuit has held that “the PRA accords the President

virtually complete control over his records during his term of office.” Armstrong v. Bush, 934




                                                  4
          Case 1:22-cv-02671-JEB Document 1 Filed 09/06/22 Page 5 of 25




F.2d 282, 290 (D.C. Cir. 1991) (“Armstrong I”). From this it concluded that the PRA “precludes

judicial review of the President’s recordkeeping practices and decisions.” Id. at 291.

       12.     There is an exceedingly narrow exception to the rule of preclusion of judicial

review under Armstrong I:

       The PRA delineates those records over which the President may exercise “virtually
       complete control” during his term of office, [Armstrong, 934 F.2d] at 290, and the courts
       may not restrict that control by reviewing the President's recordkeeping practices and
       decisions. Id. at 291. But the courts are accorded the power to review guidelines
       outlining what is, and what is not, a “presidential record” under the terms of the PRA.
       The PRA does not bestow on the President the power to assert sweeping authority over
       whatever materials he chooses to designate as presidential records without any possibility
       of judicial review. Rather, it provides that all materials that were subject to the FOIA, 5
       U.S.C. § 552, prior to the passage of the PRA remain subject to the FOIA and do not
       qualify as “presidential records.” Thus, the court may review the EOP guidelines for the
       limited purpose of ensuring that they do not encompass within their operational definition
       of presidential records materials properly subject to the FOIA.

Armstrong v. EOP, 1 F.3d 1274 (D.C. Cir. 1993) (“Armstrong II”). In announcing this holding

Armstrong II reiterated that the PRA precluded all other review of Presidential record

management. 1 F.3d at 1294; see also CREW v. Trump, 924 F.3d 602, 609 (D.C. Cir. 2019)

(PRA precludes review of “day to day operations”). The definition of a “guideline” under

Armstrong II appears to be limited solely to “guidelines that categorize materials as presidential

records, such that by doing so, any agency may run afoul of the PRA’s definition of Presidential

records.” Doyle v. DHS, 331 F.Supp.3d 27, 65 (2018) (emphasis added); see also, CREW v.

Trump, 438 F.Supp.3d 54 (2020) (similar); CREW v. Cheney, 593 F.Supp.2d 194, 220 (D.D.C.

2009) (Plaintiff stated claim under Armstrong II by alleging Vice President by policy sought to

“change the definition of Vice-Presidential records” under the PRA). 1




1
 Vice-Presidential records are subject to the PRA ‘in the same manner as Presidential records.”
44 U.S.C. § 2207.


                                                 5
          Case 1:22-cv-02671-JEB Document 1 Filed 09/06/22 Page 6 of 25




       13.     While a President is in Office, the Archivist and NARA have virtually no role or

authority. See, e.g., Cheney, 593 F.Supp.2d at 224 (“Clearly, Plaintiffs in this case challenge the

guidelines used by the Vice President, the OVP, and the EOP to classify records (as opposed to

any particular disposal decisions), but there is a similar dearth of statutory authority granting the

Archivist or NARA any role in approving or disapproving the implementation of classification

guidelines. See 44 U.S.C. § 2201 et seq. Only after the Vice President has left office does the

Archivist’s role under the PRA expand.”); id. at 171 (“The Court understands Plaintiffs’

exasperation with “a law to preserve [P]residential records for public ownership and access [that]

leaves it to the total discretion of the [P]resident and [V]ice [P]resident to define what constitutes

a [Vice-] [P]residential record in the first place.” Pls.’ Reply at 13. The Court is nevertheless

bound to apply the PRA as Congress enacted it. In doing so, the Court is left with the undeniable

conclusion that Congress vested almost no authority in the Archivist and NARA over Vice–

Presidential records during a Vice President’s term in office.”).

                         Application of the PRA to a Former President

       14.     “Upon the conclusion of a President’s term of office, . . . the Archivist of the

United States shall assume responsibility for the custody, control, and preservation of, and access

to, the Presidential records of that President.” Id. § 2203(g)(1). The Department of Justice has

taken the position that the Archivist automatically becomes the custodian of all records the

former President previously designated as Presidential records at the moment Presidential power

is transferred, regardless of who has actual physical custody of those records. See Responsibility

for the Electronic Presidential Records on Hardware of the Executive Office of the President

After a Presidential Transition, 2021 WL 222746, *2 (Op. OLC Jan. 15, 2021). The process of

physically transferring those records necessarily takes time. Id. (noting that electronic transfer of




                                                  6
          Case 1:22-cv-02671-JEB Document 1 Filed 09/06/22 Page 7 of 25




records from White House servers to the NARA would take some amount of time); id. *3

(“According to NARA, EOP personnel have regularly located prior Administrations’ paper

presidential records accidentally left behind within the EOP. When this has happened EOP

personnel have treated them as presidential records subject to the Archivist’s control and

promptly transferred them to NARA”). No deadlines are provided for transfer of physical

custody, but the Archivist has “an affirmative duty to make such records available to the public

as rapidly and completely as possible consistent with the provisions of this chapter.” 44 U.S.C.

§ 2203(g)(1).

       15.      Once the Archivist has obtained physical custody of a Presidential record over

which he has “assumed responsibility” under 44 U.S.C. § 2203(g)(1) he “shall deposit all such

Presidential records in a Presidential archival depository or another archival facility operated by

the United States.” Id. at § 2203(g)(2).

       16.      The Department of Justice takes the position that the statutory phrase “the

Presidential records of that President” (id. at § 2203(g)(1)) refers to the existing collection of

records designated by the former President as Presidential records. See NARA Mot. to Dismiss

at 13 n.1, Judicial Watch v. NARA, 1:10-cv-01834 (PLF) (D.D.C. Jan. 3, 2011); Reply in Support

of Mot. to Dismiss at 6, Judicial Watch v. NARA, 1:10-cv-01834 (PLF) (D.D.C. Mar. 15, 2011).

The only District Court to address this question adopted the Department’s view. See Judicial

Watch v. NARA, 845 F.Supp.2d 288, 300 (D.D.C. 2012) (“The Court construes this language as

requiring the Archivist to take responsibility for records that were designated as Presidential

records during the President’s term.”).

       17.      The Department of Justice has also taken the view that when a President retains a

record and does not transfer it to NARA at the end of his Presidency, absent indication to the




                                                  7
          Case 1:22-cv-02671-JEB Document 1 Filed 09/06/22 Page 8 of 25




contrary, the President has designated that record as personal. See Reply in Support of Mot. to

Dismiss at 14, Judicial Watch v. NARA, 1:10-cv-01834 (PLF) (D.D.C. Mar. 15, 2011).

       18.     At this point a key questions arises: Is a former President’s classification of

specific records reviewable?

       19.     Only a handful of courts have addressed whether Armstrong I & II preclude any

judicial review of a classification. In Am. Hist. Ass’n v. Peterson, 876 F.Supp. 1300 (D.D.C.

1995) the Court wrote:

       Armstrong II does not necessarily foreclose judicial review of a decision to denominate
       certain materials “personal records” of a former President. Such judicial review may be
       available to ensure that Presidential records are not disposed of as personal records at the
       end of an Administration and that, instead, all Presidential records fall subject to the
       Archivist’s “affirmative duty to make such records available to the public.” 44 U.S.C.
       § 2203(f)(1) (emphasis added).

Id. at 1314. But this reasoning is in the speculative (“necessarily” and “may”) and in any event

was clearly dicta; the “classification” reviewed in Peterson was clearly a “guideline” under

Armstrong II. See id. at 1313–1314. 2 The Judicial Watch Court opined in dicta that it had

“serious doubts” as to reviewability of individual classification decisions. Id. at 298. Another

District Judge used imprecise language that could be read either way in CREW v. Cheney, 580

F.Supp.2d 168 (D.D.C. 2008). There, the Court held that “the D.C. Circuit expressly recognized

in Armstrong v. EOP, 1 F.3d 1274 (D.C.Cir.1993), that district courts may review Presidential

Records Act classification decisions (and guidelines related thereto) of the sort that are at issue

in this litigation.” Id. at 171 (emphasis added). The Court then repeated a broad reading of

Armstrong II: “Rather, the PRA permits review of issues associated with the “initial

classification of materials,” which also permits review of “guidelines describing which existing



2
  But see CREW v. Cheney, 593 F.Supp.2d 194, 215–16 (2009) (Peterson’s language regarding
reviewing a Presidential classification decision is a holding).


                                                 8
          Case 1:22-cv-02671-JEB Document 1 Filed 09/06/22 Page 9 of 25




materials will be treated as presidential records in the first place . . . .” Id. at 1294 (emphasis in

original omitted).” Id. at 178. Query whether this passage eliminated the qualifier in the prior

statement. The Court then immediately went on to hold review was available because:

        The core issues in this case concern Defendants’ interpretations of the PRA's language
        that defines Vice Presidential records as those relating to his “constitutional, statutory, or
        other official or ceremonial duties of the President.” An area of inquiry that falls
        squarely within the classification decisions identified in Armstrong II as judicially
        reviewable is whether Defendants have properly interpreted this language by using the
        two sub-definitions included in Ms. O'Donnell’s declarations and in counsel's various
        representations.

Id. at 178. The Court provided no clarity as to whether it held any classification decision

reviewable, or whether it held that a President’s construction of the PRA’s definitional

provisions was reviewable. The question is decidedly unsettled.

        20.     Only one Court has addressed the related question of whether NARA can review a

President’s designation of a particular record as personal. In Judicial Watch, the Court

confronted a claim audiotapes President William J. Clinton made during his term in Office and

subsequently retained should be deemed to be Presidential records by NARA. Judicial Watch,

845 F.Supp.2d at 290–91. The Judicial Watch Court held:

        [T]he PRA does not confer any mandatory or even discretionary authority on the
        Archivist to classify records. Under the statute, this responsibility is left solely to the
        President. 44 U.S.C. § 2203(a)–(b). While the plaintiff casts this lawsuit as a challenge to
        a decision made by the National Archives, the PRA makes it clear that this is not a
        decision the Archivist can make, and in this particular case, it is not a decision the
        Archivist did make because President Clinton’s term ended in 2000, and the tapes were
        not provided to the Archives at that time.

Id. at 301.

        21.     The Department of Justice takes the position that NARA in conjunction with the

Attorney General can review a former President’s classification of a record as personal, but only

by using what the Department terms an “administrative enforcement scheme.” NARA Mot. to




                                                   9
         Case 1:22-cv-02671-JEB Document 1 Filed 09/06/22 Page 10 of 25




Dismiss at 13, Judicial Watch v. NARA, 1:10-cv-01834 (PLF) (D.D.C. Jan. 3, 2011). In the

Department’s view NARA can recover records from a former President that NARA deems to be

Presidential records under the following statutory “enforcement” scheme:

       [T]he PRA allows the Archivist of the United States, “[w]hen the Archivist considers it to
       be in the public interest,” to invoke the FRA’s enforcement scheme. 44 U.S.C. § 2112(c).
       And under the FRA’s scheme, “the Archivist shall request the Attorney General to
       initiate” an action for the recovery of missing records, and “shall notify the Congress
       when such a request has been made.” See id. §§ 2905(a), 3106.

Id.; see also Trans. of Oral Argument at 6:22–7:7, Judicial Watch v. NARA, 1:10-cv-01834

(ABJ) (D.D.C. Oct. 14, 2011).

       22.     As a matter of plain statutory text, the Department’s position appears to be wrong:

NARA and the Attorney General lack authority under the cited statutes to initiate an action to

retrieve a record a former President retained as a personal. Start and end with 44 U.S.C.

§ 2112(c). It provides:

       When the Archivist considers it to be in the public interest, he may exercise, with respect
       to papers, documents, or other historical materials deposited under this section, or
       otherwise, in a Presidential archival depository, all the functions and responsibilities
       otherwise vested in him pertaining to Federal records or other documentary materials in
       his custody or under his control.

Id. (emphasis added). Its scope is necessarily limited to materials that have been “deposited” “in

a Presidential archival depository.” By the Department’s own construction of 44 U.S.C.

§ 2203(g) a record retained by a former President definitionally cannot have been “deposited”

“in a Presidential archival depository.” There is no language in 44 U.S.C. § 3106 to the contrary.

The Judicial Watch Court reached a contrary conclusion, but without any adversarial testing.

845 F.Supp.2d at 302.




                                                10
         Case 1:22-cv-02671-JEB Document 1 Filed 09/06/22 Page 11 of 25




                 NARA’s Interactions With President Trump Concerning the PRA

       23.        On February 7, 2022, NARA issued a statement to the press in response to

reporting concerning whether former President Donald J. Trump had complied with the PRA.

NARA explained that in “mid-January 2022, NARA arranged for the transport from the Trump

Mar-a-Lago property in Florida to the National Archives of 15 boxes that contained Presidential

records, following discussions with President Trump’s representatives in 2021.” NARA, Press

Statements in Response to Media Queries About Presidential Records,

https://www.archives.gov/press/press-releases/2022/nr22-001 (last visited Sept. 6, 2022).

According to NARA, “Former President Trump’s representatives have informed NARA that they

are continuing to search for additional Presidential records that belong to the National Archives.”

Id.

       24.        NARA issued a further statement on February 8, 2022:

       Throughout the course of the last year, NARA obtained the cooperation of Trump
       representatives to locate Presidential records that had not been transferred to the National
       Archives at the end of the Trump administration. When a representative informed NARA
       in December 2021 that they had located some records, NARA arranged for them to be
       securely transported to Washington. NARA officials did not visit or “raid” the Mar-a-
       Lago property.

Id.

       25.        NARA provided more context to these statements in a February 18, 2022 letter to

the House Committee on Oversight and Reform Chairwoman Carolyn B. Maloney. According

to NARA:

             •    “NARA had ongoing communications with the representatives of former
                  President Trump throughout 2021, which resulted in the transfer of 15 boxes to
                  NARA in January 2022.” Letter from the Hon. David S. Farriero, Archivist of the
                  U.S. to the Hon. Carolyn B. Maloney, Chairman H. Comm. on Oversight &
                  Reform, at 1 (Feb. 18, 2022).




                                                 11
         Case 1:22-cv-02671-JEB Document 1 Filed 09/06/22 Page 12 of 25




             •   “NARA has identified items marked as classified national security information
                 within the boxes.” Id. at 2.

             •   “Because NARA identified classified information in the boxes, NARA staff has
                 been in communication with the Department of Justice.” Id.

             •   “NARA has identified certain social media records that were not captured and
                 preserved by the Trump Administration. NARA has also learned that some White
                 House staff conducted official business using non-official electronic messaging
                 accounts that were not copied or forwarded into their official electronic
                 messaging accounts, as required by section 2209 of the PRA. NARA has already
                 obtained or is in the process of obtaining some of those records.” Id.

             •   “NARA has asked the representatives of former President Trump to continue to
                 search for any additional Presidential records that have not been transferred to
                 NARA, as required by the Presidential Records Act.” Id.

       26.       Apparently, the transfer of the 15 boxes was the culmination of a series of

interactions between NARA and President Trump. “On or about May 6, 2021, NARA made a

request for the missing PRA records, and continued to make requests until approximately late

December 21, when NARA was informed twelve boxes were found and ready for retrieval.”

Affidavit in Support of an Application Under Rule 41 for a Warrant to Search and Seize, ¶ 39, In

Re Sealed Search Warrant, 22-mj-08332 (BER) (Aug. 5, 2022).

       27.       Unbeknownst to the public until a Magistrate Judge ordered disclosure over the

Government’s objection, on February 9, 2022, the Special Agent in Charge of NARA’s Office of

the Inspector General sent a criminal referral to the Department of Justice. See Affidavit in

Support of an Application Under Rule 41 for a Warrant to Search and Seize, ¶ 24, In Re Sealed

Search Warrant, 9:22-mj-08332 (BER) (Aug. 5, 2022). According to “NARA’s White House

Liaison Division Director” a “preliminary review” of the 15 boxes transferred from President

Trump to NARA in February of 2022 revealed they contained “newspapers, magazines, printed

news articles, photos, miscellaneous print-outs, notes, presidential correspondence, personal and

post-presidential records, and ‘a lot of classified records.’ Of most significant concern was that



                                                 12
         Case 1:22-cv-02671-JEB Document 1 Filed 09/06/22 Page 13 of 25




highly classified records were unfoldered, intermixed with other records, and otherwise

unproperly [sic] identified.” Id.

       28.     President Trump has stated that subsequent to the transfer of the fifteen boxes, he

had interactions with the White House, DOJ, and NARA regarding issues of executive privilege

that arose from the 15 boxes. Motion for Judicial Oversight at 5, In Re Search of Mar-a-Lago,

9:22-cv-81294 (AMC) (S.D. Fla. Aug. 22, 2022) (ECF No. 1).

       29.     Subsequently, NARA had numerous communications with President Trump’s

representatives and White House Counsel’s Office concerning the fifteen boxes. See U.S.

Response to Mot. for Jud. Oversight & Additional Relief at Attachment B, No. 22-cv-81294

(AMC) (S.D. Fla. Aug. 30, 2022) (ECF No. 48). NARA also was delegated authority by

President Joseph R. Biden to adjudicate certain claims of Executive Privilege made by President

Trump—which it rejected. Id.

                             August 8, 2022, Search of Mar-a-Lago

       30.     “On August 8, 2022, the Department of Justice executed a search warrant at the

premises located at 1100 S. Ocean Blvd., Palm Beach, Florida 33480, a property of former

President Donald J. Trump.” U.S.’ Omnibus Response to Motions to Unseal at 1, In Re Sealed

Search Warrant, No. 22-mj-8332 (BER) (S.D. Fla. Aug. 15, 2022) (ECF No. 59), App. B 021. 3

       31.     CBS reported:

              The FBI took boxes and documents while executing a search warrant at former
       President Donald Trump’s home in Florida on Monday, two sources confirmed to CBS
       News. No electronics were taken, according to the sources.

              Trump said Monday night that his Mar-a-Lago resort was being “raided” by the
       FBI. Sources confirmed to CBS News that the search was connected to a Justice
       Department investigation that was prompted by the National Archives earlier this year,


3
  “App.” citations reference the three Appendices submitted to NARA in support of Plaintiffs’
request for expedited processing.


                                                13
         Case 1:22-cv-02671-JEB Document 1 Filed 09/06/22 Page 14 of 25




       when the agency said it found 15 boxes of presidential records, including classified
       material, at Mar-a-Lago.

CBS, FBI Took Boxes and Documents in Trump Search (Aug. 9, 2022).

       32.       The media coverage of the raid—including questions regarding NARA’s role—

has been immense and continuous. See Apps A & C (collecting articles).

       33.       That media coverage has nearly continuously surfaced “possible questions that

affect public confidence in the Government's integrity” concerning both the raid and the

disposition of President Trump’s records. These questions have specifically focused on NARA

as well as on President Trump’s compliance with the PRA.

       34.       On the one hand, coverage has repeatedly raised the specter that President Trump

was a serial violator of the PRA. This coverage necessarily involved President Trump’s

interactions with NARA. Given the importance of recordkeeping to principles of electoral

accountability that undergird our Republican system of government, that cannot help but

undermine public confidence in the integrity of the Government.

       35.       On the other hand, the actions of the Government—including NARA—are seen

by much of the American public as President Biden harassing and ultimately raiding the

residence of his chief political rival without any sort of public explanation or justification. To

take two examples covered by the media:

             •   “Nothing like this has ever happened to a President of the United States before,”
                 Trump said in a statement on Monday. “After working and cooperating with the
                 relevant Government agencies, this unannounced raid on my home was not
                 necessary or appropriate.” CBS, FBI Took Boxes and Documents in Trump
                 Search (Aug. 9, 2022).

             •   Republicans blasted the search, with House Minority Leader Kevin McCarthy
                 vowing that if the party takes back the House, “we will conduct immediate
                 oversight of this department, follow the facts and leave no stone unturned.” He
                 warned, “Attorney General Garland: preserve your documents and clear your
                 calendar.” Id.



                                                 14
         Case 1:22-cv-02671-JEB Document 1 Filed 09/06/22 Page 15 of 25




       36.     A Trafalgar Group poll taken from August 9—August 10 reflects the raid’s very

real impact on public confidence in the integrity of the Government. When asked “who do you

believe is behind the FBI’s raid on President Trump’s private home?” 47.9 percent of

respondence indicated “Trump’s political enemies,” only 39.7 percent “The impartial justice

system,” and 12.4 percent “Not sure.” https://www.thetrafalgargroup.org/wp-

content/uploads/2022/08/COSA-FBI-Raid-Motivation-Full-Report-0810.pdf (last visited Sept. 6,

2022). For independents, the numbers held at 53.9 percent, 35.3 percent, and 10.8 percent,

respectively. Id.

                              PLAINTIFF’S FOIA REQUEST

       37.     Plaintiffs submitted their FOIA request on August 11, 2022. (“Request” or

“Plaintiff’s FOIA Request”) (Ex. 1). The Request sought:

       1. All records and communications of the Archivist and (Acting) Archivist; Deputy
       Archivist; Office of General Counsel; and the Office of the Chief of Staff (including the
       Chief of Staff, Communications and Marketing Division, and the Executive Secretariat)
       with any individuals from the domain [(@doj.gov) OR (@fbi.gov) OR (@who.eop.gov)
       OR (@ovp.eop.gov) OR (@nsc.eop.gov)] AND [(Bedminster) OR (Bedminster Golf
       Club) OR (Trump Tower) OR (Tower) OR (Mar-a-Lago Club) OR (Mar-a-Lago)].

       2. All records and communications of the Archivist and (Acting) Archivist; Deputy
       Archivist; Office of General Counsel; and the Office of the Chief of Staff (including the
       Chief of Staff, Communications and Marketing Division, and the Executive Secretariat)
       regarding [(Bedminster) OR (Bedminster Golf Club) OR (Trump Tower) OR (Tower)
       OR (Mar-a-Lago Club) OR (Mar-a-Lago)] AND [boxes]].

       3. All records and communications of the Archivist and (Acting) Archivist; Deputy
       Archivist; Office of General Counsel; and the Office of the Chief of Staff (including the
       Chief of Staff, Communications and Marketing Division, and the Executive Secretariat)
       regarding [(Bedminster) OR (Bedminster Golf Club) OR (Trump Tower) OR (Tower)
       OR (Mar-a-Lago Club) OR (Mar-a-Lago)] AND [(PRA) OR (Presidential Records
       Act)]].

       4. All records and communications of the Archivist and (Acting) Archivist; Deputy
       Archivist; Office of General Counsel; and the Office of the Chief of Staff (including the
       Chief of Staff, Communications and Marketing Division, and the Executive Secretariat)



                                               15
         Case 1:22-cv-02671-JEB Document 1 Filed 09/06/22 Page 16 of 25




       regarding [(Bedminster) OR (Bedminster Golf Club) OR (Trump Tower) OR (Tower)
       OR (Mar-a-Lago Club) OR (Mar-a-Lago)] AND [(felony) OR (Misdemeanor)].

       5. All records communications of the Archivist and (Acting) Archivist; Deputy
       Archivist; Office of General Counsel; and the Office of the Chief of Staff (including the
       Chief of Staff, Communications and Marketing Division, and the Executive Secretariat)
       regarding [election] AND [(DOJ) OR (Dept of Justice) OR (Federal Bureau of
       Investigation) OR (FBI)].

       6. All records and communications of the Archivist and (Acting) Archivist; Deputy
       Archivist; Office of General Counsel; and the Office of the Chief of Staff (including the
       Chief of Staff, Communications and Marketing Division, and the Executive Secretariat)
       regarding Title 44 Section 3106.

       7. All records and communications between any employee or agent of NARA and the
       FBI or Department of Justice, including the Offices of the United States Attorneys,
       regarding former President Trump.

       8. All records and communications between or among employees or agents of NARA
       regarding any documents in the possession of former President Trump.

       9. All records produced or contributed to by any employee or agent of NARA and
       submitted to a U.S. federal district court, magistrate, or judge.

       10. All records and communications sufficient to show the process by which NARA
       collects documents after a presidential transition.

Request at 1–2. The temporal scope of the Request was January 10, 2021 to present.

       38.     The Request also sought a fee waiver based on Heritage’s status as a 501(c)(3)

nonprofit, Plaintiffs’ non-commercial purpose, Plaintiffs’ status as representatives of the news

media, and the fact that “[t]he requested information is in the highest public interest since the

raid on former President Trump’s residence in Florida was supposedly based on the Presidential

Records Act.” Id. at 4.

       39.     Finally, the Request sought expedited processing pursuant to 36 C.F.R.

§ 1250.28(a)(4) because the Request concerned “[a] matter of widespread and exceptional media




                                                 16
         Case 1:22-cv-02671-JEB Document 1 Filed 09/06/22 Page 17 of 25




interest in which there exist possible questions that affect public confidence in the Government's

integrity.”

        40.    The Request explained:

        As per [36 C.F.R.] § 1250.28 (a)(4), on August 8th the FBI executed a search warrant at
        former President Donald Trump’s home in Florida on Monday, and a CBS News source
        told CBS News on Monday that the search was “related to PRA,” or the Presidential
        Records Act.” As per 44 U.S.C. §3106, In the event of unlawful removal, defacing, or
        erasure of records, the related Federal Records Act (44 U.S.C. Chapters 21, 29, 31, and
        33) requires the Archivist to initiate action through the Attorney General for the recovery
        of the records. Therefore, if this investigation was part of Presidential records
        Preservation, then the Archivist had a role in one of the most scrutinized warrant in US
        History. This raid and what transpired before and after it has affected American public
        confidence. As per the Trafalgar Group poll conducted after the Trump raid, 53.9 percent
        of likely [independent] general election voters believe Trump’s political enemies are
        behind the FBI raid on President Trump's private home, and only 35.3 percent of likely
        [independent] general election voters believe it is due to an impartial justice system. I
        affirm that this request for expedited processing certified to be true and correct.

Id. at 4–5 (footnotes omitted).

                      NARA’s Failure to Adhere to Statutory Timelines

        41.    On August 11, 2022, a member of the staff at NARA’s Office of the General

Counsel emailed Plaintiffs to inquire as to why Plaintiffs’ FOIA Request had been submitted

both via email and via the FOIAonline database. Email from Ashley Brian to

OversightProject@heritage.org (Aug. 11, 2022 3:25 PM) (Ex. 2). Plaintiffs responded: “This is

the same FOIA request but we wanted to ensure it was received since it requested expedited

processing. You can remove the duplicate from the FOIAOnline Database.” Email from

OversightProject@heritage.org (Aug. 11, 2022 4:22 PM).

        42.    On August 20, 2022, Plaintiffs transmitted a letter via email “to supplement the

record in support of my request for expedited processing.” Letter from Roman Jankowski to

NARA FOIA Officer (NGC) (Aug. 20, 2022) (Ex. 3). The Letter attached 3 Appendices.

Appendices A and C contained 1455 and 2589 pages of Westlaw prints of news articles and



                                                17
             Case 1:22-cv-02671-JEB Document 1 Filed 09/06/22 Page 18 of 25




news broadcast transcripts relevant to the Request. Id. Appendix B contained “a statement by

the Attorney General and Court filings in In Re Search Warrant, 22-mj-08332 (BER) (S.D.

Fla.).” 4

            43.   10 calendar days from August 11, 2022 is August 21, 2022.

                                 FIRST CLAIM FOR RELIEF
                                 Violation FOIA, 5 U.S.C. §552
                  Failure to Conduct Adequate Searches for Responsive Records.

            44.   Plaintiffs re-allege paragraphs 1–43 as if fully set out herein.

            45.   FOIA requires all doubts to be resolved in favor of disclosure. “Transparency in

government operations is a priority of th[e Biden] . . . Administration.” Attorney General,

Memorandum for Heads of Executive Departments and Agencies: Freedom of Information Act

Guidelines, at 4 (Mar. 15, 2022).

            46.   Plaintiffs properly requested records within the possession, custody, and control

of Defendant.

            47.   Defendant is subject to FOIA and therefore must make reasonable efforts to

search for requested records.

            48.   Defendant has failed to promptly review agency records for the purpose of

locating and collecting those records that are responsive to Plaintiffs’ FOIA Request.

            49.   Defendant’s failure to conduct searches for responsive records violates FOIA and

the NARA regulations.

            50.   Plaintiffs have a statutory right to the information they seek.



4
  The Letter made clear that Plaintiffs’ consider information relevant to the Request in the
possession of NARA or the Department of Justice to be in the record. Id. (“In so far as
Appendix B contains statements by the Attorney General and the Department of Justice on the
subject matter of this Request, we consider them to be within the current record; we attach them
as a matter of convenience to the National Archives and Records Administration.”).


                                                    18
         Case 1:22-cv-02671-JEB Document 1 Filed 09/06/22 Page 19 of 25




       51.     Defendant is in violation of FOIA.

       52.     Plaintiffs are being irreparably harmed by reason of Defendant’s violation of

FOIA. Plaintiffs are being denied information to which they are statutorily entitled and that is

important to carrying out Plaintiffs’ functions as a non-partisan research and educational

institution and publisher of news. Plaintiffs will continue to be irreparably harmed unless

Defendant is compelled to comply with the law.

       53.     Plaintiffs have no adequate remedy at law.

       54.     Plaintiffs have constructively exhausted their administrative remedies.

                             SECOND CLAIM FOR RELIEF
                            Violation of FOIA, 5 U.S.C. § 552
                  Wrongful Withholding of Non-Exempt Responsive Records

       55.     Plaintiffs re-allege paragraphs 1–54 as if fully set out herein.

       56.     FOIA requires all doubts to be resolved in favor of disclosure. “Transparency in

government operations is a priority of th[e Biden] . . . Administration.” Attorney General,

Memorandum for Heads of Executive Departments and Agencies: Freedom of Information Act

Guidelines, at 4 (Mar. 15, 2022).

       57.     Plaintiffs properly requested records within the possession, custody, or control of

Defendant.

       58.     Defendant is subject to FOIA, and therefore must release to a FOIA requester any

non-exempt records and provide a lawful reason for withholding any records.

       59.     Defendant is wrongfully withholding non-exempt records requested by Heritage

by failing to produce any records responsive to Plaintiffs’ FOIA Request.




                                                 19
         Case 1:22-cv-02671-JEB Document 1 Filed 09/06/22 Page 20 of 25




       60.     Defendant is wrongfully withholding non-exempt-agency records requested by

Plaintiffs by failing to segregate exempt information in otherwise non-exempt records responsive

to Plaintiffs’ FOIA Request.

       61.     Defendant’s failure to provide all non-exempt responsive records violates FOIA

and NARA regulations.

       62.     Plaintiffs have a statutory right to the information they seek.

       63.     Defendant is in violation of FOIA.

       64.     Plaintiffs are being irreparably harmed by reason of Defendant’s violation of

FOIA. Plaintiffs are being denied information to which they are statutorily entitled and that is

important to carrying out Plaintiffs’ functions as a non-partisan research and educational

institution and publisher of news. Plaintiffs will continue to be irreparably harmed unless

Defendant is compelled to comply with the law.

       65.     Plaintiffs have no adequate remedy at law.

       66.     Plaintiffs have constructively exhausted their administrative remedies.

                                THIRD CLAIM FOR RELIEF
                               Violation of FOIA, 5 U.S.C. § 552
                                Wrongful Denial of Fee Waiver

       67.     Plaintiffs re-allege paragraphs 1–66 as if fully set out herein.

       68.     FOIA requires all doubts to be resolved in favor of disclosure. “Transparency in

government operations is a priority of th[e Biden] . . . Administration.” Attorney General,

Memorandum for Heads of Executive Departments and Agencies: Freedom of Information Act

Guidelines, at 4 (Mar. 15, 2022).

       69.     Plaintiffs properly requested records within the possession, custody, or control of

Defendant.




                                                 20
          Case 1:22-cv-02671-JEB Document 1 Filed 09/06/22 Page 21 of 25




        70.     Defendant has constructively denied Plaintiffs’ application for a fee waiver

pursuant to 5 U.S.C. § 552(a)(4)(A)(ii) & (iii) and 36 C.F.R. § 1250.56(a).

        71.     The Request does not have a commercial purpose because Heritage is a 501(c)(3)

nonprofit, Howell acts in his capacity as a Heritage employee, and release of the information

sought does not further Plaintiffs’ commercial interest.

        72.     Plaintiffs are members of the news media as they “gather[] information of

potential interest to a segment of the public, use[] . . . [their] editorial skills to turn the raw

materials into a distinct work, and distribute[] that work to an audience” via Heritage’s major

news outlet, The Daily Signal. 5 U.S.C. § 552(a)(4)(a)(ii).

        73.     Disclosure of the information sought by the Request also “is in the public interest

because it is likely to contribute significantly to public understanding of the operations or

activities of the government.” 5 U.S.C. § 552(a)(4)(A)(iii).

        74.     Defendant has “failed to comply with a[]time limit under paragraph (6)” as to the

Request. 5 U.S.C. § 552(a)(4)(A)(viii)(I).

        75.     Plaintiffs have a statutory right to a fee waiver.

        76.     Defendant is in violation of FOIA by denying a fee waiver.

        77.     Plaintiffs are being irreparably harmed by reason of Defendant’s violation of

FOIA. Plaintiffs are being denied a fee waiver to which they are statutorily entitled and that is

important to carrying out Plaintiffs’ functions as a non-partisan research and educational

institution and publisher of news. Plaintiffs will continue to be irreparably harmed unless

Defendant is compelled to comply with the law.

        78.     Plaintiffs have no adequate remedy at law.

        79.     Plaintiffs have constructively exhausted their administrative remedies.




                                                    21
          Case 1:22-cv-02671-JEB Document 1 Filed 09/06/22 Page 22 of 25




                                 FOURTH CLAIM FOR RELIEF
                                 Violation of FOIA, 5 U.S.C. § 552
                               Statutory Bar Against Charging Fees

        80.     Plaintiffs re-allege paragraphs 1–79 as if fully set out herein.

        81.     FOIA requires all doubts to be resolved in favor of disclosure. “Transparency in

government operations is a priority of th[e Biden] . . . Administration.” Attorney General,

Memorandum for Heads of Executive Departments and Agencies: Freedom of Information Act

Guidelines, at 4 (Mar. 15, 2022).

        82.     Plaintiffs properly requested records within the possession, custody, or control of

Defendant.

        83.     The Request does not have a commercial purpose because Heritage is a 501(c)(3)

nonprofit, Howell acts in his capacity as a Heritage employee, and release of the information

sought does not further Plaintiffs’ commercial interest.

        84.     Plaintiffs are members of the news media as they “gather[] information of

potential interest to a segment of the public, use[] . . . [their] editorial skills to turn the raw

materials into a distinct work, and distribute[] that work to an audience” via Heritage’s major

news outlet, The Daily Signal. 5 U.S.C. § 552(a)(4)(a)(ii).

        85.     Disclosure of the information sought by the Request also “is in the public interest

because it is likely to contribute significantly to public understanding of the operations or

activities of the government.” 5 U.S.C. § 552(a)(4)(A)(iii).

        86.     Defendant has “failed to comply with a[]time limit under paragraph (6)” as to the

Request. 5 U.S.C. § 552(a)(4)(A)(viii)(I).




                                                    22
         Case 1:22-cv-02671-JEB Document 1 Filed 09/06/22 Page 23 of 25




       87.     Defendant has not determined “more than 5,000 pages are necessary to respond to

this request,” or discussed with Plaintiffs how Plaintiffs “could effectively limit the scope of the

request.” 5 U.S.C. § 552(a)(4)(A)(viii)(II)(cc).

       88.     Defendant is currently statutorily barred from charging fees related to Plaintiffs’

FOIA Request. Therefore, Defendant has a statutory right to have its request processed without

being charged any fees.

       89.     Plaintiffs are being irreparably harmed by reason of Defendant’s violation of

FOIA. Plaintiffs will continue to be irreparably harmed unless Defendant is compelled to

comply with the law.

       90.     Plaintiffs have no adequate remedy at law.

       91.     Plaintiffs have constructively exhausted their administrative remedies.

                               FIFTH CLAIM FOR RELIEF
                              Violation of FOIA, 5 U.S.C. § 552
                           Wrongful Denial of Expedited Processing

       92.     Plaintiffs re-allege paragraphs 1–91 as if fully set out herein.

       93.     FOIA requires all doubts to be resolved in favor of disclosure. “Transparency in

government operations is a priority of th[e Biden] . . . Administration.” Attorney General,

Memorandum for Heads of Executive Departments and Agencies: Freedom of Information Act

Guidelines, at 4 (Mar. 15, 2022).

       94.     Plaintiffs properly requested records within the possession, custody, or control of

Defendant.

       95.     Plaintiffs properly asked that NARA expedite the processing of Plaintiffs FOIA

Request, based upon Plaintiffs’ showing of that the Request concerns “[a] matter of widespread




                                                   23
         Case 1:22-cv-02671-JEB Document 1 Filed 09/06/22 Page 24 of 25




and exceptional media interest in which there exist possible questions that affect public

confidence in the Government's integrity.” 36 C.F.R. § 1250.28.

       96.     Defendant refused to expedite Plaintiffs’ FOIA Request, contrary to the factual

and legal showing Plaintiffs’ made demonstrating their entitlement to expedition.

       97.     Defendant is in violation of FOIA.

       98.     Plaintiffs are being irreparably harmed by reason of Defendant’s violation of

FOIA. Plaintiffs are being denied information to which they are statutorily entitled on an

expedited basis and that is important to carrying out Plaintiffs’ functions as a non-partisan

research and educational institution and publisher of news. Plaintiffs will continue to be

irreparably harmed unless Defendant is compelled to comply with the law.

       99.     Plaintiffs have no adequate remedy at law.

       100.    Plaintiffs has exhausted all required administrative remedies with respect to

Defendant’s failure to make a determination on Plaintiffs’ request for expedition.




 WHEREFORE as a result of the foregoing, Plaintiffs pray that this Court:

         A.     Enter a preliminary and permanent injunction compelling Defendant to process

                Plaintiffs’ FOIA Request on an expedited basis.

         B.     Order Defendant to conduct a search or searches reasonably calculated to

                uncover all records responsive to Plaintiffs’ FOIA Request;

         C.     Order Defendant to produce, within twenty days of the Court’s order, or by such

                other date as the Court deems appropriate, any and all non-exempt records

                responsive to Plaintiffs’ FOIA Request and indexes justifying the withholding of

                any responsive records withheld in whole or in part under claim of exemption;



                                                 24
 Case 1:22-cv-02671-JEB Document 1 Filed 09/06/22 Page 25 of 25




 D.    Enjoin Defendant from continuing to withhold any and all non-exempt records

       responsive to Plaintiffs’ FOIA Request;

 E.    Enjoin Defendant from assessing fees or costs for Plaintiffs’ FOIA Request;

 F.     Retain jurisdiction over this matter as appropriate;

 G.     Award Plaintiffs their costs and reasonable attorneys’ fees in this action as

        provided by 5 U.S.C. § 522(a)(4)(E); and

 H.     Grant such other and further relief as this Court may deem just and proper.




Dated: September 6, 2022                 Respectfully submitted,


                                         /s/ Samuel Everett Dewey
                                         SAMUEL EVERETT DEWEY
                                         (No. 999979)
                                         Chambers of Samuel Everett Dewey, LLC
                                         Telephone: (703) 261-4194
                                         Email: samueledewey@sedchambers.com

                                         Counsel for Plaintiffs

                                         ROMAN JANKOWSKI
                                         (No. 975348)
                                         The Heritage Foundation
                                         Telephone: (202) 489-2969
                                         Email: Roman.Jankowski@heritage.org

                                         Pro Se




                                      25
